               Case 22-12093-mdc                   Doc     Filed 03/04/24 Entered 03/04/24 17:26:23                                Desc Main
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Fill in this information to identify the case:

Debtor 1              Maura Kane

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Eastern                  District of Pennsylvania
                                                                             (State)

Case number           22-12093-mdc



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             NewRez LLC d/b/a Shellpoint Mortgage                Court claim no. (if known):         12
                              Servicing

Last four digits of any number you                 XXXXXX0938                     Date of payment change:
use to identify the debtor’s account:                                             Must be at least 21 days after date of              4/1/2024
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any             $1,557.95

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
       $ No
       $ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:          $ 562.11                                      New escrow payment :          $ 449.11

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
       $ No
       $ Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                         %                             New interest rate:          %

             Current principal and interest payment:        $ _________                   New principal and interest payment:           $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
     $ No
     $ Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




Official Form 410S1                                Notice of Mortgage Payment Change                                               page 1
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                                                          Document      Page 2 of 6
 Debtor 1            Maura Kane                                                     Case number (if known) 22-12093-mdc
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

    $ I am the creditor.
    $ I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Ernest Yazzetti, Jr.                                                           Date     03/04/2024
     Signature

Print:         Ernest                                               Yazzetti, Jr.      Title    Authorized Agent for Creditor
               First Name            Middle Name                    Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                      30076
               City                          State                   ZIP Code

Contact phone      8482000083                                                          Email    Ernest.Yazzetti@mccalla.com




Official Form 410S1                            Notice of Mortgage Payment Change                                   page 2
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                                                       Bankruptcy Case No.: 22-12093-mdc
 In Re:                                                Chapter:             13
          Maura Kane                                   Judge:               Magdeline D.
                                                                            Coleman

                                    CERTIFICATE OF SERVICE

       I, Ernest Yazzetti, Jr., of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama
Road, Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Maura Kane
419 Rutgers Court
Bensalem, PA 19020

MICHAEL I. ASSAD                               (Served via ECF at mail@cibiklaw.com)
Cibik Law, P.C.
1500 Walnut St, Ste 900
Philadelphia, PA 19102

Kenneth E. West, Trustee                       (Served via ECF at ecfemails@ph13trustee.com)
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee                          (Served via ECF Notification)
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:        03/04/2024      By:    /s/Ernest Yazzetti, Jr.
                     (date)                Ernest Yazzetti, Jr.
                                           Authorized Agent for Creditor
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